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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA
Alexandria Division

JANE DOE, By her parents and next of friends,
JANE ROE and JOHN DOE,

)
)
)
Plaintiff, )
) 1:23-cv-1358 (LMB/WEF)
v. )
)
LOUDOUN COUNTY SCHOOL BOARD, )
)
Defendant.
ORDER
Before the Court is plaintiff Jane Doe’s (“plaintiff”) Motion for Leave to Proceed
Anonymously [Dkt. No. 3], requesting that the Court allow plaintiff to proceed pseudonymously
because of the significant media coverage surrounding this action and because she is a minor
who has already been subjected to bullying and fears additional harassment resulting from this
action. Because plaintiff has provided good cause for the relief requested and because allowing
plaintiff to proceed under a pseudonym would not prejudice the parties, it is hereby
ORDERED that plaintiff Jane Doe’s Motion for Leave to Proceed Anonymously [Dkt.
No. 3] be and is GRANTED.
The Clerk is directed to forward copies of this Order to counsel of record.

Ww
Entered this [3 day of October, 2023.

Alexandria, Virginia

Leonie M. Brinkeina
United States District Judge

